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AO 442 (Rev. 01109) Arrest Warrant




                                              UNITED STATES DISTRICT COURT
                                                                                   for the




                    United States of America
                                                                                           Case: 1:21-mj-00434
                                v.                                                   )
                                                                                     )     Assigned to: Judge Harvey, G. Michael
                       JAMES BREHENY
                                                                                     )     Assign Date: 5/18/2021
                                                                                     )     Description: COMPLAINT WI ARREST WARRANT
                                                                                     )
                                Defendant


                                                              ARREST WARRANT
To:        Any authorized        law enforcement    officer


           YOU ARE COMMANDED                     to arrest and bring before a United States magistrate judge without unnecessary                          delay
(name of person to be arrested)            JAMES BREHENY
                                       -------------------------------------------------------------------
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment             0 Superseding Indictment                   0 Information            0 Superseding    Information         ~ Complaint
o     Probation Violation Petition              0 Supervised Release Violation Petition                    o Violation    Notice      0 Order of the Court

This offense is briefly described as follows:
  18 U.S.C. § 1752(a)(1), 18 U.S.C. § 1752(a)(2), 40 U.S.C. § 5104(e)(2)(D), 40 U.S.C. § 5104(e)(2)(G), 18 U.S.C. § 1512
  (c)(2), and 18 U.S.C. § 1512(c)(1)




Date:     05/18/2021
                                                                                                            Issuing officer's signature
                                                                                             G. Michael Harvey, United States Magistrate              Judge
City and state:         Washington D.C.
                                                                                                             Printed name and title


                                                                                  Return

           This warrant was received on (date)          05        t \ c, 1~"2..-\        , and the person was arrested on    (date)       c:F:.1 Go   l
                                                                                                                                                      "Ul"L\
at (city and state) Fe.\ N.~,,,,,AA"'<:..0MJZ-A , IAl<>~ .• /A.   ••   i Ou-k:_   , Nl

Date: __     o_s_._I_2.G_\~'2_c_'"Z.._\_




                                                                                                             Printed name and title
